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                                                                                                File Date: 1/1/2021 3:36 PM
                      Case 1:21-cv-00215-AJ Document 1 Filed 03/10/21 Page 1 of 2              Rockingham Superior Court
                                                                                                         E-Filed Document
                                  THE STATE OF NEW HAMPSHIRE
                                              JUDICIAL BRANCH
                                             http://www.courts.state.nh.us

Court Name:           Rockingham Superior Court
Case Name:            Gail P. Garda vs. Kohl's Inc. 325 Lafayette Rd. Seabrook, NH
                      218-2021-CV-00003
Case Number:
 (if known)
                                                  COMPLAINT
                            Requested:   ✔ Jury Trial (as allowed by law)     Bench Trial
1. Plaintiff’s Name Gail P. Garda
   Residence Address 34 Old Stage Road, Hampton Falls, NH 03844
    Mailing Address (if different)
    Telephone Number (Home) (603) 926-0457                           (Mobile) (603) 303-6038


2. Defendant’s Name Kohl's Inc.
   Residence Address 325 Lafayette Rd., Seabrook, NH 03874
    Mailing Address (if different) 3 Executive Park Drive 9, Bedford, NH 03110 (by Registered Agent)


3. First thing that happened (in one sentence):
    On or about January 3, 2018, your Plaintiff enjoyed the legal status of business invitee in, on, or about
    the premises owned, operated and managed by your Defendant, its agents and employees and at said
    time and place your Plaintiff was caused to lose her footing, falling to the ground with great force
    causing serious and permanent personal and other economic and otherwise compensable injuries.



4. Second thing that happened (in one sentence):
    Upon falling and sustaining serious and permanent personal and other economic and otherwise
    compensable injuries, the agents and/or employees of your Defendant were not properly trained
    and/or supervised and therefore did not attend to your Plaintiff and her injuries in a prompt and
    proper manner, nor did they appreciate your Plaintiff as a business invitee and their duty to such by
    failing to continuously inspect and remedy any and all hazardous conditions existing in, on, or about
    the said premises.

5. Third thing that happened (in one sentence):
    The Plaintiff, through no fault of her own, was caused to suffer serious and permanent personal and
    other economic and otherwise compensable injuries when the Defendant, its agents and employees
    failed to provide her and other business invitees with a safe environment that was to the direct
    pecuniary benefit of your said Defendant(s), therefore, the breach of various legal duty(s) caused by
    the Defendant, its agents and employees are the direct and proximate cause of the serious, permanent
    personal and other economic and otherwise compensable injuries sustained by your Plaintiff.

Continue on using separately numbered paragraphs (attach additional sheets if necessary).
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Case Name: Gail P.Case 1:21-cv-00215-AJ
                   Garda vs. Kohl's Inc. 325Document   1 Filed
                                             Lafayette Rd.     03/10/21
                                                           Seabrook, NH                    Page 2 of 2
Case Number:
COMPLAINT
For the reasons stated in this Complaint, I request that the Court issue the following orders:
A. Describe the orders you want the Court to make:
Wherefore, the Plaintiff respectfully requests the Honorable Court find that as a direct and proximate
cause of the Defendants' negligence and the negligence of its agents and employees, she was caused to
suffer serious and permanent personal and other economic and otherwise compensable injuries and is
therefore entitled to compensatory and all other applicable damages at law; and for any other relief this
Honorable Court deems necessary, proper, and just.




B. All other relief the Court deems fair and just.

Gail Garda by and through                                             /s/ Shawn R. Crapo
Name of Filer                                                         Signature of Filer                 Date
Shawn R. Crapo, Esquire          272502                               (603) 964-0003
Law Firm, if applicable          Bar ID # of attorney                 Telephone
Crapo Law Offices, PLLC                                               Shawn@CrapoLaw.com
Address                                                               E-mail
Rye Beach                      NH             03871
City                          State         Zip code




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